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lN THE CIRCUIT COURT OF SALINE COUNTY, ARKANSAS

 

l DIVISIoN

JEAN EVANS t _ PLAINTIFF

vs. CAsE No.\°zQ\/- \3- 3‘37_

PETCo ANIMAL sUPPLIEs sTORES, INC. and v

JOHN DOES 1~100 , DEFENDANTS
CoMPLAIN'r

 

Comes now the Plaintiff, Jean Evans, by and through her attorneys, TAYLOR & TAYLOR

LAW FIRM, P.A., and for her Complaint does state:
JURISDIC'I_`ION AND VENUE

l. At all times relevant to this Complaint, Plaintiff was a resident of Bryant, Saline
County, Arkansas, and a citizen of the State of Arkansas.

2. Defendant Petco Animal Supplies Stores, lnc. (“Petco”) is a California corporation
with a registered agent for service of process in Little Rock, Pulaski County, Arkansas.

3. Defendants John Doe 1-50 are the agents or. employees of Defenda.nt Petco who
created the dangerous condition described herein and/or who failed to warn Plaintiff of the
dangerous condition.

4. Defendants John Doe 51-100l are the corporation(s), partnership(s), or other
entity(ies) that owned or operated the Petco retail store located at 'or near 20825 l~30; Benton,
Arkansas 72015 at the time relevant to this Complaint.

5. The facts and circumstances giving rise to this Complaint occurred in Benton,

` Saline County, Arkansas.

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6. This Court has subject matter jurisdiction of this matter pursuant to Ark. Code Ann.
§ 16-13-201(a).

7. This Court has personal jurisdiction of the parties pursuant to Ark. Code Ann. § 16-
4-101(B).

8. Venue in this county is proper pursuant to Arl<. Code Ann. § l6-60-lOl(a)(l)
(county in which a substantial part of the event or omission giving rise to the cause of action
oecurred) and Ark. Code A.nn. § 16-60-101(a)(3)(A) (county in which the plaintiff resided at the
time of the event or omission giving rise to the cause of action).

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9. y On or about March 20, 2015, Plaintiff was a customer at the Peteo retail store
located at or near 20825 1~30; Benton, Arkansas 72015 (the “Petco Store”).

lO. Unbeknownst to Plaintiff, Defendant(s) had created a dangerous condition, and had
failed to wam Plaintiff of the dangerous condition

ll. Specifically, Defendant(s) had allowed a metal rod to protrude into the walkway.

See Exhibit A.

12. Upon information and belief, and based upon representations from Petco’s agents

or employees, Petco typically has a_rolling cart in front of the protruding metal.

13. Upon information and belief, and based upon representations from Petco’s agents

or employees, Defendant(s) had'moved the rolling cart, creating the dangerous condition.

14. Defendants also failed to warn Plaintiff of the dangerous condition

15. Plaintiff tripped and fell over the protruding metal.

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CAUSE OF ACTION #1 - NEGLIGENCE
16. Plaintiff was an invitee upon Defendants’ premises `
17. Defendants owed Plaintiff a duty to use ordinary care to maintain the premises in a
safe condition. h

18. Defendants breached that duty in the following manner:

A. By causing a piece of metal to protrude into the walkway.

B. By causing the cart that typically blocks the protruding metal to be moved,

creating the dangerous situation
C. By not having in place effective systems or procedures to prevent the cart

'from being moved, creating the dangerous situation

D, By failing to warn Plaintiff of the dangerous condition.
E. By failing to otherwise use ordinary care under the circumstances at the time
of the trip and fall.

19. The injuries and damages sustained by Plaintiff, more particularly described below,
were produced in a natural and continuous sequenee, and were a probable consequence of
~ Defendants’ breach of one or more of the above-described independent duties of ordinary care for
the Safety of`Plaimifr.

.20. Defendants should have foreseen and anticipated that a breach of one or more of
the above-described independent duties to use ordinary care would constitute an appreciable risk
of harm to others, including Plaintiff.

21. If Defendants had not breached one or more of the above-described independent
duties to use ordinary care for the safety of Plaintiff, then Plaintist injuries and damages would

not have occurred.

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COMPENSATORY DAMAGES SUFFERED BY PLAINTIFF

22. The injuries and damages sustained by Plaintiff as a result of Defendants’ breach

of the above duties include, but are not limited to, the following:

A.

Serious bodily injuries to Plaintift` s body, including, but not limited to,
Plaintiff’s neck, back, and hips;

Medical expenses incurred in the past, and transportation expenses to obtain
such medical treatment;

Future medical expenses to be incurred, and transportation expenses to
obtain such future medical treatment;

Physical pain and suffering experienced in the past;

Physical pain and suffering to be experienced in the futurei

Mental anguish experienced in the past, which includes but is not limited to
Plaintiff’ s loss of quality of life due to permanent injuries causing chronic
pain that limited her activities;

Mental anguish to be experienced in the iiiture, which includes but is not

limited to Plaintiff’ s loss of quality of life due to permanent injuries causing

chronic pain that limits her activities;

Any scars, disfigurement, and visible results of her injury due to “residential
limitation of motion;” Adkins v. Kelley, 244 Ark. 199, 424 S.W.Zd 373
(1968);

The reasonable expense of any necessary help in Plaintist home in the
p_ast, and reasonably certain to be required in the future, as a result of

Plaintist injuries; and

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J. Perrnanent bodily injuries that have been suffered, which is a life-changing
event causing Plaintiff to lose the ability to enjoy a normal life.

AMOUNT ()F DAMAGES
(Fon JUR!sr)ICTloNAL PuRPosEs UNDER ARr<. Cons ANN. 8 16-63-22L

23. Plaintiff’s injuries and damages are in excess of the minimum amount required for

federal court jurisdiction in diversity of citizenship cases.
DEMAND FOR TRIAL BY JURY
24. Plaintiff demands a trial by jury for all issues of fact presented by this action.
RESERVATION OF ADDITI()NAL CLAIMS
"' 25. Upon completion of discovery, Plaintiff reserves the right to plead further to state

additional claims and to name additional parties to this action.

WHEREFORE, Plaintiff prays for judgment against Defendants for the damages caused
by its negligence as described above, for her costs and attorneys’ fees, and for all other relief at

law or equity to which she may be entitled

Respect ully submit ed
JEA VANS,
BY: .

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